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                             IN THE UNITED STATES BANKRUPTCY
                                 COURT FOR THE DISTRICT OF
                                        DELAWARE




    In re:                                                          Chapter 11


    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1

                                                                    (Jointly Administered)
                               Debtors.




   CENTURY INDEMNITY COMPANY’S2 LIMITED OBJECTION AND PARTIAL
    JOINDER IN PART TO LIMITED OBJECTION OF CREDITORS FIRST STATE
 INSURANCE COMPANY AND TWIN CITY FIRE INSURANCE COMPANY AND PARTY IN
INTEREST HARTFORD ACCIDENT AND INDEMNITY COMPANY TO DEBTORS' MOTION
 FOR ENTRY OF AN ORDER (I) APPOINTING A JUDICIAL MEDIATOR, (II) REFERRING
  CERTAIN MATTERS TO MANDATORY MEDIATION, AND (III) GRANTING RELATED
                           RELIEF [DKTS. 17, 161]

         Century, by and through undersigned counsel, files this objection and partial joinder (the

“Joinder”) to the Limited Objection (the “Limited Objection”) of Creditors First State Insurance

Company and Twin City Fire Insurance Company and Party in Interest Hartford Accident and

Indemnity Company to Debtors’ Motion (the “Motion”) for Entry of an Order (I) Appointing a

Judicial Mediator, (II) Referring Certain Matters to Mandatory Mediation, and (III) Granting

Related Relief and states the following:


1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance Company of
North America and Indemnity Insurance Company of North America, Ace Insurance Group Westchester Fire
Insurance Company and Westchester Surplus Lines Insurance Company (“Century”).
                                                           1
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        Century has tried to obtain information from Debtors on how the mediation it has

proposed will be organized and which parties will attend without success. Century has an

interest in all of the issues that Debtors identified in their Motion:


        •     the relative treatment of abuse claimants under the plan and trust distribution
              procedures;
        •     the funding of a victims compensation trust;
        •     the treatment of abuse claims related to Scouting that are asserted against entities
              that are not debtors in these cases;
        •     the enforceability of donor and other restrictions on the BSA’s and local councils’
              assets;
        •     issues pertaining to shared insurance between the BSA and local councils;
        •     and coverage disputes between the BSA and its insurers.

        Century has been excluded from any discussion of the above issues since the petition was

filed. As Century has an interest in all of these issues, it requests to be included in the

negotiation of these issues and, if these issues are to be mediated, to have a say in how any

mediation is organized and an opportunity to meaningfully participate. Century also requests

that it be included in the selection of an appropriate mediator or mediators. It is obviously

necessary to know what is to be mediated and with whom in order to select a mediator.

        Any order on Debtors’ Motion should also protect against the disclosure of privileged

information concerning the underlying claims and their defense absent Century’s approval.

        WHEREFORE, Century objects to entry of an order appointing a mediator without

disclosure and consensus on what is to be mediated and with whom and the inclusion of terms

that protect against the disclosure of privileged information concerning the underlying claims

and their defense absent Century’s approval.




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Dated: April 10, 2020                        Respectfully Submitted,


                                             By: /s/Stamatios Stamoulis
                                                 Stamatios Stamoulis(#4606)

                                             STAMOULIS & WEINBLATT LLC
                                             800 N. West Street Third Floor
                                             Wilmington, Delaware 19801
                                             Telephone: 302 999 1540
                                             Facsimile: 302 762 1688

                                             O’MELVENY & MYERS LLP
                                             Tancred Schiavoni (pro hac vice pending)
                                             Janine Panchok-Berry (pro hac vice pending)
                                             Times Square Tower
                                             7 Times Square
                                             New York, New York 10036-6537
                                             Telephone: 212 326 2000
                                             Facsimile: 212 326 2061

                                             Counsel for Century Indemnity Company, as
                                             successor to CCI Insurance Company, as
                                             successor to Insurance Company of North
                                             America and Indemnity Insurance Company of
                                             North America, Ace Insurance Group Westchester
                                             Fire Insurance Company and Westchester
                                             Surplus Lines Insurance Company




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                                  CERTIFICATE OF SERVICE


        I hereby certify that on April 10, 2020, I electronically filed the above Century

Indemnity Company’s Partial Joinder with the Clerk of Court using CM/ECF, which will send

electronic notification of such filings to all registered counsel.



                                               /s/Stamatios Stamoulis
                                               Stamatios Stamoulis (#4606)




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